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                                                         April 18, 2022
                                                     CLERK, U.S. DISTRICT COURT


                    SEALED
                                                     WESTERN DISTRICT OF TEXAS

                                                           Melanie Miller
                                                  BY: ________________________________
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